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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


ACORDA THERAPEUTICS, INC., et al.,
                                               )
                            Plaintiffs,        )
              v.                               )     C.A. No. 14-882 (LPS)
                                               )     (CONSOLIDATED)
ROXANE LABORATORIES, INC., et al.,             )
                                               )
                            Defendants.        )
                                               )

                     DEFENDANTS’ POST-TRIAL REPLY BRIEF


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                                         INTRODUCTION

         Plaintiffs have failed to rebut Defendants’ clear and convincing showing of obviousness

for the Elan and Acorda patents. Instead, they repeatedly apply incorrect legal standards and place

undue reliance on conclusory and biased testimony from their witnesses who, time and again,

distort the prior art. In the end, for the reasons discussed below and in their opening post-trial brief,

Defendants request that the Court enter judgment in their favor and against Plaintiffs declaring all

asserted claims of the Elan and Acorda patents invalid.

               The Asserted Elan Patent Claims Are Invalid As Obvious Or Under § 112

         The Elan patent claims methods “for the treatment of” “multiple sclerosis” with a

“sustained release” formulation of 4-AP. (JTX-001 (emphasis added).) As the patent itself makes

clear, the prior art disclosed the use of 4-AP “to improve the conduction of nerve impulses, thereby,

alleviating symptoms in MS patients,” i.e., to address MS symptoms such as impaired

walking. (JTX-001 at 1:51-61 (citing prior art studies by Davis and Stefoski; Tr. (Lublin) 409:15-

24, 416:19-417:9; Tr. (Goodman) 462:8-12).) The patent further concedes a skilled artisan would

have “appreciated that there is a need for an improved dosage form” of 4-AP that “must result in

a controlled release of drug,” such that it would be “suitable for once- or twice-daily administration

to aid patient compliance.” (JTX-001 at 2:8-16.) This concession from the specification not only

accurately characterizes the prior art, it is “binding on” Plaintiffs for purposes of assessing

obviousness. PharmaStem Therapeutics, Inc. v. ViaCell, Inc., 491 F.3d 1342, 1362 (Fed. Cir.

2007).

         Plaintiffs cannot run away from these binding concessions. Ignoring the teachings of the

prior art as a whole, they argue that, as of 1991, “4-AP was used as a bird toxin,” “the prior art

showed only that 4-AP warranted further study” in MS patients, and “there were, at best,

fragmentary hints that 4-AP might have some clinical usefulness in MS patients[.]” (D.I. 272,


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Plaintiffs’ Answering Brief on Validity and Opening Brief on Secondary Considerations of

Nonobviousness (herein after “Pls.’ Br.”) at 2, 14, 16.) But try as they might, Plaintiffs cannot

rewrite the prior art—which expressly showed 4-AP treating the slowing of nerve impulse

transmission and “suggest(s) a safe and effective therapeutic window for orally administered 4-

AP for . . . motor deficits in selected MS patients.” (JTX-043 at AMP-DEF-0000071.)

       Regardless, to accept Plaintiffs’ reading of the prior art would necessarily mean that the

Elan patent—which, again, claims a “method for the treatment of” “multiple sclerosis”—lacks an

adequate patent disclosure. (JTX-001 at cls. 3, 8 (emphasis added).) Indeed, the patent relies

solely on the prior art when it comes to 4-AP clinical results. (JTX-001 at 1:51-61, 13:43-

45.) Thus, a skilled artisan as of 1991 would have reasonably expected 4-AP to “alleviat[e]

symptoms in MS patients” (JTX-001 at 1:51-61), thus providing motivation to improve the dosage

form to improve patient compliance. Alternatively, to accept Plaintiffs’ arguments, a skilled

artisan reading the patent specification would not have believed that the inventors were able to

treat MS symptoms with 4-AP—meaning that the patent lacked a sufficient written description, or

would not be enabled. Either way, a declaration of invalidity should follow.

       Therefore, the sole question for obviousness as to the Elan patent is whether a skilled

artisan would have had a reasonable expectation of success in formulating any sustained release

4-AP formulation suitable for use in MS patients. The trial record provides clear and convincing

evidence that sustained release technology was well-known at the time (in 1991), and creating a

suitable 4-AP formulation merely required routine experimentation.

       Plaintiffs place undue reliance on conclusory testimony from their expert and a vague,

general statement from a single treatise saying that the “[d]esign of a sustained-release product is

normally a very difficult task.” (Pls.’ Br. 21.) Plaintiffs cannot credibly dispute that a skilled




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formulator in 1991 could have reasonably expected to develop at least one sustained release

dosage form suitable for 4-AP. The patent does not claim any specific sustained release

formulation, thus giving a skilled artisan many options—including the encapsulated dissolution

formulation that Dr. Kibbe testified, without contradiction, would have worked “quite nicely” for

4-AP. (JTX-081; Tr. (Kibbe) 208:18-210:7.) As the Federal Circuit made clear, a patentee cannot

point to “general unpredictability of the formulation arts” to support patent validity. Allergan, Inc.

v. Sandoz Inc., 726 F.3d 1286, 1292-93 (Fed. Cir. 2013). This precedent rings true here.

       Plaintiffs rely solely on alleged commercial success as a secondary consideration. (Pls.’

Br. 26.) As discussed in more depth below, however, Plaintiffs failed to meet their burden of

presenting evidence of commercial success—including a nexus to the asserted Elan patent

claims. Regardless, any such “objective evidence of nonobviousness simply cannot overcome . . .

a strong prima facie case of obviousness.” Agrizap, Inc. v. Woodstream Corp., 520 F.3d 1337,

1344 (Fed. Cir. 2008).

                       The Asserted Acorda Patent Claims Are Invalid As Obvious

       The trial record also presents clear and convincing evidence that all asserted claims of the

Acorda patents are invalid as obvious. As discussed, these claims merely narrow the Elan patent

to a specific stable dose (10 mg twice BID for at least two weeks), for a specific MS treatment

(improving walking), with inherent release profiles disclosed in the prior art. Indeed, these patents

simply identify the 10 mg BID dose from the preferred prior art range of 10-20 mg BID. Choosing

a single dose from a handful of preferred prior art doses was not an invention; it was the obvious

result of routine dose optimization.

       Although the Acorda patents are presumed obvious as a matter of law, Plaintiffs devoted

fewer than four pages of their 97-page brief to this critical issue. Plaintiffs cannot change (or gloss




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past) the law: “Where there is a range disclosed in the prior art, and the claimed invention falls

within that range, there is a presumption of obviousness.” Tyco Healthcare Group LP v. Mut.

Pharm. Co, Inc., 642 F.3d 1370, 1372-73 (Fed. Cir. 2011). Nor can they change the clear and

convincing facts: Schwid taught a stable dose of 17.5 mg BID to improve walking in MS patients,

and the Goodman references further taught a “dose-response in 20-40 mg/day range” (i.e., 10-20

mg BID) leading to a “[s]ignificant benefit on timed walking.” (JTX-104; Tr. (Peroutka) 93:8-

95:15; JTX-080A; Tr. (Goodman) 528:10-17.) Applying the law to these facts, “the burden of

production falls upon [Plaintiffs] to come forward with evidence that (1) the prior art taught away

from the claimed invention; (2) there were new and unexpected results relative to the prior art; or

(3) there are other pertinent secondary considerations.” Galderma Labs., L.P. v. Tolmar, 737 F.3d

731, 738 (Fed. Cir. 2013).

         Plaintiffs attempt to distinguish this controlling case law by distorting the prior art. Indeed,

they go so far as to argue that “there was no prior art teaching that any dose of 4-AP – any single

dose or any range of doses – was safe and effective to improve walking or increase walking speed

in MS patients.” (Pls.’ Br. 54 (emphasis in original).) Yet, that is precisely what the prior art did

teach.

         For example, Schwid taught that “motor function” and, in particular, “[t]imed gait,”

“improved” with a stable dose of “4AP SR 17.5 mg bid.” (JTX-104; Tr. (Peroutka) 91:17-

92:12.) And while Plaintiffs inexplicitly characterized the MS-F201 study reported in the

Goodman references as a “failure” (Pls.’ Br. 28), this prior art taught that 10-20 mg 4-AP BID had

a “[s]afety profile consistent with previous experience” and reported “statistically significant

improvement from baseline compared to placebo in functional measures of mobility (timed 25

walking speed; p=0.04)[.]” (Tr. (Goodman) 477:4-12; Tr. (Cohen) 307:14-17; JTX-061.) As Dr.




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Goodman reported to his peers, Acorda’s secondary objective in the MS-F201 study was to

“[o]btain evidence of efficacy and dose response,” and he found such “[e]vidence of dose-response

in 20-40 mg/day range.” (JTX-080A.)

       In short, Galderma, Tyco, and similar cases control and are dispositive here, and the Acorda

patents are presumed obvious as a matter of law. At a very minimum, given the “finite number of

identified, predictable solutions” when assessing an optimized dose for the prior art treatment of

MS, the “anticipated success” was “the product not of innovation but of ordinary skill and common

sense.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 421 (2007).

       Finally, Plaintiffs presented no persuasive evidence of “secondary considerations” that

rebut Defendants’ strong showing of obviousness. Plaintiffs raise no argument for teaching

away. Their purported evidence of commercial success and long-felt but unmet need are legally

deficient due to the Elan “blocking patent,” and otherwise factually deficient. See Warner Chilcott

Co, LLC. v. Teva Pharm. USA, Inc., 37 F. Supp. 3d 731, 739 (D. Del. 2014), aff’d, 594 F. App’x

630 (Fed. Cir. 2014). They produced no evidence that others tried but failed to practice the claimed

invention—indeed, the Schwid and Goodman references reported successes. And their purported

evidence of “unexpected” results were not only expected, but at most suggest legally irrelevant

“differences in degree rather than kind.” Galderma, 737 F. 3d at 739.

       Judgment should be entered for Defendants on all asserted patents.




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                                           ARGUMENT

I.     Defendants Have Proven by Clear and Convincing Evidence That The Asserted Elan
       Patent Claims Are Invalid.

       A.      The Asserted Elan Patent Claims Are Obvious.

               1.      The Prior Art Motivated A POSA, And Provided A Reasonable
                       Expectation Of Success, To Use 4-AP To Treat MS Patients.

       Defendants established by clear and convincing evidence that a POSA in 1991 would have

been motivated by the prior art to use 4-AP to treat MS patients with a reasonable expectation of

success. This factual finding is confirmed by the binding statements the inventors made when

characterizing that prior art in the specification. (D.I. 265, Defendants’ Opening Post-Trial Brief

(herein after “Defs.’ Op. Br.”) at 13-17.) In an attempt to dismiss the clear import of these

references and the admissions in the patent, Plaintiffs argue that (1) the Stefoski and Davis prior

art did “little more than suggest the need for further studies” (Pls.’ Br. at 16); (2) statements made

in the patent specification “have no bearing on whether the claimed inventions of the ’938 patent

were obvious” (id. at 18); and (3) additional “proof of safety and efficacy” is required to render

patent claims obvious (id. at 19). All three arguments are unpersuasive and should be rejected

because they conflate the requirement for FDA approval with the standard for obviousness.

                       a.      Stefoski and Davis Taught That 4-AP Could Be Used to Treat
                               Symptoms Related to Neuromuscular Transmission in MS
                               Patients.

       The trial evidence showed that two pivotal human clinical studies by a group of researchers

at Rush University in Chicago—led by Drs. Stefoski and Davis—demonstrated in the prior art that

4-AP improves “clinical signs in multiple sclerosis” patients; and that both studies confirmed 4-

AP’s efficacy using visual evoked potential (“VEP”), a test that eliminates the possibility for a

placebo effect and can reveal a nerve conduction response and a therapeutic effect. (Defs.’ Op.

Br. at 13-15; JTX-112; JTX-043.) In response, Plaintiffs quibble with certain study limitations


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(which their experts acknowledge all studies have) and mischaracterize the plain conclusions of

these authors.

       Plaintiffs attempt to minimize the data reported in the prior art Stefoski and Davis

references by referring to 4-AP as a “bird toxin,” and the reported information on using the drug

in MS patients as “meager.” (Pls.’ Br. at 14.) But Plaintiffs cannot dispute that, to support their

patent, the named inventors themselves relied upon these prior art references and, in particular, the

reported clinically significant benefits of 4-AP in MS patients. (JTX-001 at 1:51-60.)

       Moreover, Plaintiffs have mischaracterized the prior art. For example, Plaintiffs argue that

Stefoski suggested only that “studies were then under way to assess th[e] possibility” of 4-AP’s

“clinical usefulness,” which, “[i]f anything . . . exhibited a lack of confidence in the usefulness of

4-AP.” (JTX-112 at AMP-DEF-0000138; Pls.’ Br. at 15) (emphasis in original). They further

argue that a POSA would not make inferences regarding 4-AP’s therapeutic effect based on the

“limited” findings of the Davis paper. (Pls.’ Br. at 15) But Drs. Stefoski and Davis did not express

the lack of confidence Plaintiffs attribute to them; instead, they titled their articles: “4-

Aminopyridine improves clinical signs in multiple sclerosis,” and “Orally administered 4-

aminopyridine improves clinical signs in multiple sclerosis,” respectively. (JTX-112; JTX-043.)

While Plaintiffs argue that Stefoski and Davis “left open the question of whether the improved

nerve conduction caused by 4-AP could have meaningful clinical effects,” (Pls.’ Br. at 17),

Stefoski actually concludes: “we believe that the magnitude of the improvements we observed

without serious side effects suggests a clinical usefulness of this agent, administered orally in

selected patients.” (JTX-112 at AMP-DEF-0000138.) And Davis similarly concludes: “orally

administered 4-AP produces clinically important improvements in multiple, chronic deficits in

MS.” (JTX-043 at AMP-DEF-0000066.)




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       To support their revisionist interpretation of the prior art, Plaintiffs cherry-pick the reported

data and fail to consider its weight as a whole, as a POSA would do. For example, Plaintiffs argue

that Davis conducted “no test of walking speed.” (Pls.’ Br. at 16.) However, Plaintiffs ignore

Davis’ testing of 4-AP for an effect in gait, which undisputedly is synonymous with walking. (Tr.

(Peroutka) 79:24.)

       Plaintiffs’ reliance on later articles by Bever in which the authors noted study limitations

in the Stefoski and Davis references is unpersuasive. (Pls.’ Br. at 16.) There is no dispute that any

study will have limitations. And despite the limitations in the studies reported by Stefoski and

Davis, Bever still concluded that these studies “suggested benefit” (JTX-027 at

AMPFH0021791)—prompting further studies and ultimately “demonstrat[ing] that [4-AP] can

improve residual neurological deficits in MS patients” (id. at AMPFH0021792).

       Plaintiffs also point to this Court’s claim construction ruling for the term “therapeutically

effective blood levels” as somehow supporting their non-obviousness position, but this argument

makes no sense. (Pls.’ Br. at 17.) This Court’s analysis did not minimize or negate the conclusions

reported by Davis and Stefoski in the prior art as to the effects of MS on 4-AP. Nor did this Court

change the wording of the patent, which expressly claims a “method for the treatment of” multiple

sclerosis. (See D.I. 195 at 7; JTX-001 (emphasis added).)

       Regardless, to accept Plaintiffs’ reading of the prior art, as discussed below, would

necessarily mean that the Elan patent—which expressly claims a “method for the treatment of”

“multiple sclerosis”—lacks an adequate disclosure. (JTX-001.)

                       b.      The Elan Patent Specification Explicitly Acknowledges the
                               Prior Art Research by Stefoski and Davis.

       Plaintiffs argue that Defendants “attempt to make much” of the Elan patent’s specification,

which states—referring to the work of Stefoski and Davis—that “4-Aminopyridine (4-AP) has



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been found to improve the conduction of nerve impulses, thereby, alleviating symptoms in MS

patients.” (Pls.’ Br. at 17; JTX-001 at 1:51-63.) Indeed, because the inventors’ characterizations

of the prior art are binding on Plaintiffs (that is, “admissions in the specification regarding the prior

art are binding on the patentee for purposes of a later inquiry into obviousness”), much should be

made of the inventors’ concessions. PharmaStem, 491 F.3d at 1362. (Defs.’ Op. Br. at 15-17.)

        Plaintiffs do not dispute the legal principle from PharmaStem. Instead, they argue for the

first time, without any evidentiary support, that the specification does not refer to the Davis and

Stefoski I references, or to Davis and Stefoski’s cumulative published research—but, rather, to the

inventors’ personal knowledge of unpublished research, or the results of Stefoski II alone (which,

as discussed below, is still prior art to the Elan patent). These new arguments are directly

contradicted by the plain language of the Elan patent and Plaintiffs’ own expert’s testimony.

        Noting that the specification does not include a citation to Davis and Stefoski’s prior

research, Plaintiffs offer attorney argument that “the statement in the patent apparently reflects the

inventors’ personal knowledge about the continuing work by Davis and Stefoski, and is not a

representation as to what was in the publicly available prior art.” (Pls.’ Br. at 17-18.) Putting

aside the fact that this discussion appears in a section titled “Background and Prior Art,” Plaintiffs

are asking this Court to engage in pure speculation as to the inventors’ personal knowledge,

unsupported by any trial evidence or testimony.

        Indeed, Plaintiffs’ expert, Dr. Lublin, contradicted this speculation when he agreed that the

specification refers to multiple clinical trials undertaken by the Stefoski and Davis research group

and reported in the prior art:

        Q:      Now, you had also discussed various prior art or disclosure in the ’938
                patent that talks about previous studies conducted in 4-AP; is that right?

        A:      Yes.



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       Q:      Okay. And it refers to clinical trials carried out by Davis, FA and Stefoski,
               D from the Rush Multiple Sclerosis Centre; is that correct?

       A:      Yes.

       Q:      And I believe that you stated that that was referring to the Rush article that
               we’ve been discussing at JTX-43 [1990 Davis reference]?

       A:      I think it refers to all of their prior work.

(Tr. (Lublin) 416:19-417:12.) Dr. Lublin’s reading of the Elan patent specification makes sense;

each of the publications by Stefoski and Davis taught that 4-AP could be used to treat clinical

symptoms related to neuromuscular transmission in MS patients. (JTX-112 at AMP-DEF-

0000138 (“we believe that the magnitude of the improvements we observed without serious side

effects suggests a clinical usefulness of this agent, administered orally in selected patients.”); JTX-

043 at AMP-DEF-0000066 (“orally administered 4-AP produces clinically important

improvements in multiple, chronic deficits in MS.”); JTX-113 at AMP-DEF-0000145 (“The

results with 4-AP in MS clearly indicate efficacy in improving signs and symptoms”).)

       Next, Plaintiffs argue that even if the Elan patent specification refers to a publication by

Stefoski and Davis, it is only to the 1991 Stefoski II reference, which Plaintiffs contend should not

be deemed prior art because Defendants somehow “waived” their right to characterize it as such.

(Pls.’ Br. at 18-19.) Not so. Although Plaintiffs could have tried to argue for a November 1990

priority date based on a foreign application, they opted, instead, to assert a priority date of

November 1, 1991. (Tr. (Fassihi) 324:3-7; see also id. 416:19-417:12.) As a result, Stefoski II,

which was published in September 1991, is prior art to the Elan patent. (JTX-113; D.I. 252, Ex. 1

at 63.) Defendants never waived their right to argue otherwise.

       Stefoski II not only concludes that “4-AP is a promising drug for the symptomatic

treatment of MS,” but it also references the earlier Davis publication, stating, “In an earlier study,

we demonstrated efficacy of single oral doses of 4-aminopyridine in improving motor and visual


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signs in multiple sclerosis (MS) patients.” (JTX-113 at AMP-DEF-0000142 (emphasis added).)

This is more than enough to provide a reasonable expectation that 4-AP could be used to treat MS

patients. See Allergan, Inc. v. Sandoz Inc., 726 F.3d 1286, 1292-93 (Fed. Cir. 2013) (“There is no

requirement that one of ordinary skill have a reasonable expectation of success in developing [the

FDA-approved commercialized product]. Rather, the person of ordinary skill need only have a

reasonable expectation of success of developing the claimed invention.”).1 Indeed, as discussed

below, Plaintiffs cannot contend otherwise without rendering their patent invalid under § 112.

               2.      The Prior Art Also Motivated a POSA, and Provided a Reasonable
                       Expectation of Success, To Formulate a 4-AP Sustained Release Dosage
                       Form to Treat MS Patients.

       Plaintiffs do not seriously dispute that the prior art would have motivated a POSA in 1991

to reformulate immediate release 4-AP into a sustained release dosage form. In particular, a skilled

artisan would have recognized from the prior art that: (1) a sustained release formulation would

address concerns associated with immediate release 4-AP, such as its short half-life, which caused

patient-compliance concerns, and side effects; and (2) 4-AP had qualities that favored a sustained

release dosage form, including effectiveness at relatively small doses, efficient absorption

throughout the gastrointestinal tract, and bioavailability that is unaffected by the first-pass liver

effect. (Defs.’ Op. Br. at 18-26.)




1
  Plaintiffs also take issue with Defendants’ reference to the utility requirement of the Manual of
Patent Examining Procedure § 2107.03 (8th ed., rev. 6, Sept. 2007) as one factor in support of a
POSA’s reasonable expectation of success in this case. (Pls.’ Br. at 19-20.) But utility means
“useful for any particular practical purpose” that would be “considered credible by a person of
ordinary skill in the art.” Manual of Patent Examining Procedure § 2107 at II(B)(1). Here, both
the purpose of the clinical testing undertaken by Drs. Davis and Stefoski and approved through an
FDA Investigational New Drug Application (“IND”) and the asserted claims of the Elan patent
relate to a therapeutically effective method of treating MS patients. Thus, FDA’s finding of utility
bears directly on whether a POSA would have a reasonable expectation of success that a drug
could be useful for the practical purpose of treating MS patients.


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       Instead, they argue that a POSA in 1991 would not have reasonably expected to succeed

in formulating a sustained release 4-AP product. In support, they point to the purported “emerging

state of the art,” “complexity of sustained release formulations,” and “dearth of information

regarding the safety, efficacy and pharmacokinetics of 4-AP.” (Pls.’ Br. at 25 n.19.) Again,

Plaintiffs’ arguments are not persuasive.

                      a.      The State of the Art in 1991 Provided Formulators with Many
                              Sustained Release Options.

       Defendants have provided clear and convincing evidence that many different sustained

release platforms were available to formulators, with detailed instructions on how to make them

in prior art such as Remington’s 1990. (Defs.’ Op. Br. 30-31.) In response, Plaintiffs maintain

that sustained release technology was nevertheless at a “nascent stage,” formulators’ knowledge

of sustained release was “limited,” and the FDA was still in the process of composing guidelines

to aid pharmaceutical companies in developing formulations. (Pls.’ Br. at 21.) Plaintiffs have

understated the ability of a POSA to formulate at least one sustained release dosage form of 4-AP

that provided therapeutically effective blood levels over a 12- to 24-hour period.

       Indeed, Plaintiffs do not dispute that Remington’s reported in 1990 at least 39

commercially available sustained release products from 14 different companies using at least five

different types of sustained release platforms—all of which were available to a POSA motivated

to make a sustained release formulation of 4-AP. (JTX-081 at AMP-DEF-0000175-180.) Indeed,

Plaintiffs did not rebut Dr. Kibbe’s testimony that the popular “encapsulated dissolution” system

disclosed in Remington’s—which is the type of formulation used by then-existing over-the-

counter medication, Contac—would have worked “quite nicely” for a 4-AP formulation. (JTX-

081; Tr. (Kibbe) 208:18-210:7.) To be sure, FDA had not yet issued formal guidelines regarding

sustained release formulations. But the agency had “approved a large number of sustained release



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dosage forms already, which meant if they didn’t have public guidelines, they had internal

guidelines.” (Tr. (Kibbe) 234:20-235:3; see also D.I. 263 ¶ 91.) And prior art treatises such as

Remington’s and Robinson & Lee, which are undisputed “bibles” in the formulation field, had

chapters devoted to sustained release technology. (D.I. 263 ¶¶ 88-90.)

                      b.      By 1991, Formulating Sustained Release Dosage Forms was
                              Routine.

       As set forth in Defendants’ opening brief, the evidence clearly and convincingly showed

that making a sustained release formulation of a known drug was relatively “straightforward” by

1991, combining the application of a POSA’s routine research methods with known sustained

release formulation techniques reported in the prior art. (Defs.’ Op. Br. 30-33.) In response,

Plaintiffs argue that Dr. Kibbe provides only a “facile” description of the “complex” process of

developing sustained release formulations. In support, they point to statements by Dr. Robinson,

whose writings Plaintiffs argue stand for the proposition that sustained release formulations is “a

complex effort,” and to Dr. Fassihi, who testified that developing a sustained release formulation

of a drug that has not been widely consumed in immediate release form would be “very difficult.”

(Pls.’ Br. at 21, 22, 25 n.19.)    In so doing, Plaintiffs incorrectly characterize Dr. Kibbe’s

qualifications, take statements in the prior art out of context, and place undue reliance on

difficulties in the formulation arts. Most telling, nowhere have Plaintiffs alleged that making a

sustained release formulation is beyond the skill of a POSA.

       First, Plaintiffs inappropriately attack Dr. Kibbe’s qualifications. He is a professor, now

emeritus, and founder of the Nesbitt School of Pharmacy’s Department of Pharmaceutical Sciences

at Wilkes University and was accepted as an expert—without objection—in “the development and

evaluation of pharmaceutical dosage form formulations including both immediate and sustained

release formulations” and “pharmacokinetics.” (Tr. 179:25-180:7; DTX-129 at 1.) Plaintiffs’



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criticisms—based solely on the number of Dr. Kibbe’s academic research publications (Pls.’ Br.

at 20)—ignore that Wilkes is not a research university, and Dr. Kibbe has spent 22 years training

graduate students in developing and formulating pharmaceutical dosage forms, where he routinely

makes sustained release formulations. (Tr. 178:14-21; 261:9-13.) Plaintiffs also overlook that Dr.

Kibbe served as the Editor in Chief of the Third Edition of the Handbook of Pharmaceutical

Excipients—the seminal treatise on the actual materials that are used to create sustained release

formulations. (Tr. 176:19-177:2.) In short, Plaintiffs’ suggestion that Dr. Kibbe’s opinions should

be discounted because he “never conducted research on sustained release formulations” and lacks

“practical experience” (Pls.’ Br. at 20-21) is false.

       Second, Plaintiffs erroneously suggest that Dr. Kibbe’s testimony “flies in the face” of the

work of Dr. Joseph Robinson, who authored some of the prior art. (Pls.’ Br. at 21.) To be sure,

Dr. Robinson said in his 1978 treatise that formulation tasks can be “difficult,” and he left that

comment unchanged in later editions. (JTX-079 at AMP-DEF-0000097; PTX-095 at 201.) But

normally difficult tasks can still be routine for those of ordinary skill in the art. As Dr. Kibbe

testified, a POSA in the pharmaceutical arts would know how to select an appropriate platform

and perform routine testing to determine the appropriate excipients and dissolution profiles to

prepare a suitable sustained release dosage form for a drug with characteristics like 4-AP. (D.I.

263 ¶¶ 117-120; Tr. (Kibbe) 210:12-211:9.)

       Indeed, Dr. Robinson himself authored several chapters in treatises (one dating back to the

1970s) explaining exactly how to do so. In the very chapter Plaintiffs cite, Dr. Robinson reports

that “sustained-release products have received a substantial amount of attention in recent years,

and several good reviews are available for the interested reader” that “provide not only a

description of the available mechanisms and technology for production of these dosage forms, but




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also information on clinical evaluation and performance.” (PTX-095 at 201.) He then details the

fabrication steps for multiple different sustained release products. (Id. at 199-287.)

        At bottom, Plaintiffs’ efforts to argue that a POSA would find formulating a sustained

release 4-AP dosage form “complex” or “very difficult” achieve nothing—as a matter of law.

Federal Circuit precedent holds that “many techniques that require extensive time, money, and

effort to carry out may nevertheless be arguably ‘routine’ to one of ordinary skill in the art.” Pfizer,

Inc. v. Apotex, Inc., 480 F.3d 1348, 1367 (Fed. Cir. 2007). And, more particularly, a patentee

cannot point to “general unpredictability of the formulation arts” to support patent validity, “so

long as there was a reasonable probability of success.” Allergan, Inc. v. Sandoz Inc., 726 F.3d

1286, 1292-93 (Fed. Cir. 2013).

                        c.      By 1991, the Prior Art Taught the Safety, Efficacy, and
                                Pharmacokinetics of 4-AP.

        Plaintiffs make much of the fact that an immediate release 4-AP product had not been

previously approved. In their view, this must have meant that there was not enough information

regarding the safety, efficacy, and pharmacokinetics of 4-AP to provide a POSA with a reasonable

expectation of success in formulating a sustained release dosage form of 4-AP that provides

therapeutically effective blood levels over a 12-24 hour period. (Pls.’ Br. at 22-25, n.19.) Plaintiffs

are wrong. They offered no authority suggesting that “copious information” about a drug’s safety

and efficacy is required before a POSA would have a reasonable expectation of success. (Id.)

Indeed, as described above and in Defendants’ opening brief, the prior art—particularly the

Stefoski and Davis references—already offered more than enough data to provide a POSA with a

reasonable expectation that 4-AP could be safe and effective in treating MS patients. (See D.I.

265 at 13-15; supra at 6-7.)




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       Plaintiffs further argue that “no meaningful pharmacokinetic information was available

regarding 4-AP in 1991,” and that Dr. Kibbe failed to explain how the pharmacokinetic data in

Uges could be used in designing a sustained release (“SR”) formulation. (Pls.’ Br. at 23.) This

again contradicts what the evidence at trial showed. Dr. Kibbe testified that the data disclosed in

Uges “gives [a POSA] information that motivates [the POSA] to go forward.” (Tr. (Kibbe) at

203:13-14.) This information includes that the drug has a “[r]elatively short [half-]life, 3.6 hours.

Efficient absorption pattern, [one] hundred percent bioavailability, and relatively small dose, Uges

uses 20 milligram dose….” (Id. at 203:23-204:1.) A POSA would have been able to calculate the

inherent known pharmacokinetic values from Uges. (Id. at 218:16-17.)

       Further, Dr. Kibbe testified that the half-life disclosed in Uges “is a good half-life to look

at in terms of converting [the immediate release formulation] to sustained release....” (Id. at

201:17-18.) Other pharmacokinetic data disclosed in Uges, according to Dr. Kibbe, would have

helped a POSA understand that 4-AP is a good candidate for a SR formulation. (Id. at 201:22-23.)

These data included that the “bioavailability of the enteric coated labels is 95 plus or minus 29

percent…which means it is being absorbed more or less informally,” as well as data showing that

“biotransformation is unlikely…[meaning] that the drug is unchanged in the urine…which means

that there is not going to be any first pass effect because there is no metabolism.” (Id. at 201:25-

202:7.) While Dr. Kibbe acknowledged that POSAs “always like more data,” he opined that as a

rule, “everybody wants more data than they have…[b]ut this data tells [a POSA] what [a POSA

would] need to know about whether or not this drug is a good candidate for sustained release.”

(Tr. (Kibbe) at 203:10; 251:10-13.) A POSA would then “go forward with additional experiments

to refine [the POSA’s] understanding.” (Id. at 251:13-15.)




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       Plaintiffs argue that the “data disclosed in Uges reflects significant pharmacokinetic

variability among the nine test subjects and thus a lack of predictability.” (Pls.’ Br. at 23.) But

this argument is inconsistent with Dr. Kibbe’s testimony. Rather, Dr. Kibbe opined that “the

calculated [pharmacokinetic] values [] have [] standard deviation numbers within them which

reflects the variability.” (Tr. (Kibbe) at 248:16-18.) Viewing the data disclosed in Table 2 of

Uges, “the standard deviations are less than 10 percent of the mean values. That doesn’t make

them significant.” (Id. at 248:23-25.)

       Plaintiffs also attempt to warp the significance of the split of the test subjects in Table 1 of

Uges such that five subjects were listed in a triexponential pharmacokinetic model and four

subjects into a biexponential model. (Pls.’ Br. at 23.) But this was simply a decision made by the

authors to analyze the data in this manner. (Tr. (Kibbe) at 249:6-19.) The differences shown in

the table “reflect[] differences in the model more than the differences in the drug.” (Id. at 250:19-

251:5.) Plaintiffs may dismiss Uges in retrospect, but they fail to recognize that POSAs in the

field did not. Stefoski explicitly cites to Uges as evidence of the known pharmacokinetics of 4-

AP. (JTX-112 at AMP-DEF-0000138.) And, regardless, a POSA would have had access to 4-AP

if more testing and data were warranted. (D.I. 262 at ¶ 53.)

       Plaintiffs also suggest that the potential for dose dumping in a sustained release 4-AP

formulation was a “real issue” because 4-AP was known to be “toxic.” (Pls.’ Br. at 24.) But Dr.

Fassihi presented no evidence that “dose dumping,” while a general concern for sustained release

formulations, was an explicit concern with respect to 4-AP that would have dissuaded a POSA

from a reasonable expectation of success. Plaintiffs similarly overstate the difficulty in creating a

sustained release version of 4-AP because it is water-soluble. (Pls.’ Br. at 24.) In addition to

similar guidance provided by Remington’s 1990, hydroxyl propyl methylcellulose (“HPMC”) was




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available as a well-known, water-soluble polymer for matrix formulations (indeed, this is the

preferred polymer in the patent). (Tr. (Kibbe) 209:24-210:2; JTX-001 at 4:41-46.)

       In the end, Plaintiffs never dispute that the Elan patent claims any “sustained release”

formulation of 4-AP capable of providing a “controlled absorption” that “achieves therapeutically

effective blood levels over a 12-24 hour period when administered on a once- or twice-daily basis.”

(JTX-001 at 22:16-25.) This is a critical point. While Plaintiffs may characterize sustained release

technology as “nascent” or “limited,” their arguments that a skilled formulator at the time would

not have had a reasonable expectation of successfully formulating 4-AP into any of multiple

available sustained release dosage forms is unsupported by credible evidence in the trial record.

Rather, skilled formulators at the time knew how to do precisely this through routine

experimentations. (Tr. (Kibbe) 211:18-23.) And any such expectation would be sufficient to

render the patent obvious. See, e.g., Aventis Pharm. Deutschland GmbH v. Lupin, Ltd., 499 F.3d

1293, 1300 (Fed. Cir. 2007) (finding a genus invalid as obvious because a species within that genus

was obvious).

                3.     Secondary Considerations Cannot Overcome The Strong Showing
                       That The Elan Patent Is Obvious.

       Commercial success is the only secondary consideration identified by Plaintiffs in support

of their argument that the Elan patent is nonobvious. (Pls.’ Br. at 26.) While Ampyra cannot be

considered a commercial success for any of the patents-in-suit for the reasons discussed below in

Section D.1, Plaintiffs have additionally failed to establish a nexus between any sales of Ampyra

and the specific contributions of the Elan patent.

       Plaintiffs’ commercial success expert, Dr. Bell, did not offer any opinions regarding the

relative contribution of the Elan patent to Ampyra’s commercial success. (Tr. (Bell) 613:15-18.)

Nor did he perform any analysis as to the relative contribution of the prior art 4-AP compound



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itself, even though he admitted it was an unpatented feature of Ampyra that is part of what is

required for the product to be successful. (Id. at 614:10-24.)

       By contrast, Defendants’ commercial success expert, Dr. McDuff, opined—without

contradiction, and with support from Defendants’ expert Dr. Peroutka—that the patented features

of the Elan patent “are not nearly in the same magnitude of the 4-AP compound itself” when

evaluating the contributions to the overall sales of the commercial product. (Tr. (McDuff) 653:3-

15; Tr. (Peroutka) 707:1-8.) He thus concluded that the nexus of Ampyra sales to the Elan patent

was “weak.” (Id. at 654:1-4.)

       Based on the commercial success arguments set forth in Section D.1 below and Plaintiffs’

complete failure of proof with respect to establishing a nexus between sales of Ampyra and the

specific contributions of the Elan patent, the Court should reject commercial success as a

secondary consideration in support of the Elan patent’s validity. This is particularly true in light

of the “strong prima facie case of obviousness.” Agrizap, Inc. v. Woodstream Corp., 520 F.3d

1337, 1344 (Fed. Cir. 2008).

       B.      Alternatively, The Asserted Claims Of The Elan Patent Are Invalid Under §
               112 As Lacking Written Description Or Enablement.

       In an effort to defend the Elan patent from an obviousness challenge, Plaintiffs repeatedly

contend that, “in 1991, the prior art showed only that 4-AP warranted further study” and that “4-

AP was not then ‘known’ to provide any specific clinical benefit to MS patients.” (Id. at 2.) They

further refer to the prior art as providing “meager data” with only “fragmentary hints” that 4-AP

might have some clinical usefulness in MS patients. (Id. at 14, 16.) If true, these are significant

admissions under 35 U.S.C. § 112, given that the Elan patent claims methods of “treatment” for

MS, and the patent disclosure does not identify any 4-AP testing conducted independently by the

inventors. Indeed, Plaintiffs acknowledge that Davis and Stefoski provide the sole support for the



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Elan patent’s written description and enablement, confirming that “[w]ith respect to 4-AP, the

patent references only the work by Davis and Stefoski, who had already published the 1987

Stefoski and 1990 Davis papers.” (Pls.’ Br. at 56.)

       To fulfill the written description requirement, a patent specification must describe an

invention and do so in sufficient detail that one skilled in the art can clearly conclude that “the

inventor invented the claimed invention.” Regent of the Univ. of Cal. v. Eli Lilly & Co., 119 F.3d

1559, 1566 (Fed. Cir. 1997). Likewise, a specification lacks enablement if it fails to teach one of

skill in the art “how to make and use the full scope of the claimed invention without ‘undue

experimentation.’” Teva Pharms. USA, Inc. v. Sandoz, Inc., 723 F.3d 1363, 1370 (Fed. Cir. 2013).

The knowledge of the person of skill in the art cannot substitute for the disclosure of the novel

aspects of the invention, particularly in the pharmaceutical arts. See Alza Corp. v. Andrx Pharms.,

LLC, 603 F.3d 935, 941-42 (Fed Cir. 2010).

       Applying these standards to Plaintiffs’ admissions about the patent disclosure, either the

prior art taught and enabled using 4-AP to treat MS (and thus provided a motivation to improve

the dosage form to aid patient compliance), or the Elan patent lacks a sufficient disclosure to

support the breadth of the asserted claims for such treatment. Either way, the asserted claims of

the Elan patent are invalid.2

       Plaintiffs attempt to save the Elan patent by arguing that the work by Davis and Stefoski

enables only improvement of “nerve conduction” and not treatment of MS symptoms. (Pls.’ Br.

at 57.) But the Elan patent is either enabled for the full scope of the asserted claims, or it is not



2
  Plaintiffs’ arguments regarding whether the Elan patent covers a stable dosing regimen similarly
either invalidate the patent based on the enabled prior act or insufficient disclosure. In particular,
Plaintiffs argue that “the ’938 patent does not disclose administration other than via upward
titration,” but admit that the claims are “not limited to administration of 4-AP using an individual
titration dosing scheme.” (Pls.’ Br. at 42.)


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enabled at all. MagSil Corp. v. Seagate Tech., 764 F. Supp. 2d 674, 678 (D. Del. 2011) (“In order

to satisfy the enablement requirement of § 112, the specification of a patent must teach those skilled

in the art how to make and use the full scope of the claimed invention without undue

experimentation.”) (emphasis added), aff’d sub nom., MagSil Corp. v. Hitachi Glob. Storage

Techs., Inc., 687 F.3d 1377 (Fed. Cir. 2012). The MagSil court held that the specification of the

patent was “insufficient to enable one of ordinary skill in the art to make and use the full scope of

asserted claims…[t]hus, these claims are invalid because of lack of enablement.” MagSil Corp.,

764 F. Supp. 2d at 683; see also Johns Hopkins Univ. v. 454 Life Scis. Corp., No. CV 13-1853-

LPS, 2016 WL 1948818, at *4 (D. Del. May 2, 2016) (“[t]o be enabling, the specification of a

patent must teach those skilled in the art how to make and use the full scope of the claimed

invention without undue experimentation.”)

       Likewise, to satisfy the written description requirement, when a patent claims a genus using

functional language to define a desired result, “the specification must demonstrate that the

applicant has made a generic invention that achieves the claimed result and do so by showing that

the applicant has invented species sufficient to support a claim to the functionally-defined genus.”

AbbVie Deutschland GmbH & Co., KG v. Janssen Biotech, Inc., 759 F.3d 1285, 1299 (Fed. Cir.

2014). The Federal Circuit has held that “a sufficient description of a genus . . . requires the

disclosure of either a representative number of species falling within the scope of the genus or

structural features common to the members of the genus so that one of skill in the art can ‘visualize

or recognize’ the members of the genus.” Id.

       Contrary to Plaintiffs’ suggestion, the Court’s claim construction ruling for the term

“therapeutically effective blood levels” does not restrict the Elan patent’s scope to a method of

treatment resulting in improved nerve conduction. That is merely one possible result of practicing




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the asserted claims. (D.I. 195 at 7.) Improving MS symptoms (including walking) is clearly

another, as Plaintiffs have listed the Elan patent as covering Ampyra. (D.I. 262 at ¶226; Tr.

(McDuff) at 648:17-25.) And while Dr. Goodman may have testified that the work of Davis and

Stefoski did not provide a POSA with a reasonable expectation of success in treating clinical

manifestations of MS (Pls.’ Br. at 57), the plain conclusions of Davis and Stefoski say the opposite.

(JTX-112 at AMP-DEF-0000138 (“[W]e believe that the magnitude of the improvements we

observed without serious side effects suggests a clinical usefulness of this agent, administered

orally in selected patients.”); JTX-043 at AMP-DEF-0000066 (“[O]rally administered 4-AP

produces clinically important improvements in multiple, chronic deficits in MS.”); JTX-113 at

AMP-DEF-0000145 (“The results with 4-AP in MS clearly indicate efficacy in improving signs

and symptoms”).)

       In short, Plaintiffs cannot have it both ways—simultaneously arguing that the Davis and

Stefoski research referenced in the specification serves as the sole support for its written

description and enablement, while also arguing that this same prior art would not have given a

POSA a reasonable expectation that 4-AP could successfully be used to treat clinical symptoms of

MS. The asserted Elan patent claims are invalid regardless of how Plaintiffs construe this prior

art—either as obvious under § 103, or as lacking a sufficient disclosure under § 112.3




3
  Plaintiffs have no basis and cite no authority for arguing that Defendants waived their § 112
arguments related to the Elan patent. (Pls.’ Br. at 57 n.38.) Based on Plaintiffs’ pre-trial
submissions, Defendants anticipated Plaintiffs might argue—in an effort to defend the Elan and
Acorda patents from obviousness challenges—that the Elan patent lacks a sufficient patent
disclosure to support the asserted claims. For that reason, Defendants expressly raised their § 112
defenses in the pretrial statement. (See Dkt. 252 Ex. 3 ¶¶ 63-70.) Defense counsel also expressly
noted during opening statement they were maintaining a § 112 defense that would be addressed in
post-trial briefing, depending on the evidence and Plaintiffs’ arguments presented at trial. (Tr. 8
(Klein Opening) at 8:8-13.) Counsel again raised this point during closing arguments. (Tr. (Klein
Closing) 799:19-800:21.)


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II.     Defendants Have Proven By Clear And Convincing Evidence That The Asserted
        Claims Of the Acorda Patents Are Invalid As Obvious.

        A.     The Asserted Acorda Patent Claims Are Presumed Obvious As a Matter of
               Law.

        Plaintiffs do not dispute that, under settled law, “[w]here there is a range disclosed in the

prior art, and the claimed invention falls within that range, there is a presumption of obviousness.”

Tyco, 642 F.3d at 1372-73. Nor do they dispute that, in such a situation, the burden of production

“falls upon [the patentee] to come forward with evidence that (1) the prior art taught away from

the claimed invention; (2) there were new and unexpected results relative to the prior art; or (3)

there are other pertinent secondary considerations.” Galderma, 737 F.3d at 738. Instead, Plaintiffs

attempt to distinguish this case law. Plaintiffs’ effort, not Defendants’ argument, is “futile.” (Pls.’

Br. at 52.)

        For example, Plaintiffs place undue reliance on Bayer Pharma AG v. Watson Labs, Inc.,

which distinguished Galderma. The Bayer case involved three phases of dosing that required the

skilled artisan “to make at least five decisions to come up with a regimen.” In contrast, the Court

held, the “invention at issue in Galderma was the selection of a dose of one ingredient from a

previously-disclosed range of that one ingredient.” --- F. Supp. 3d ---, No. CV 12-1726-LPS, 2016

WL 3946916, at *32 (D. Del. July 18, 2016). This case is directly analogous to Galderma, not

Bayer, because it too involves selecting a single dose (10 mg BID) of one ingredient (4-AP) from

a previously disclosed range (10-20 mg BID).

        Given that Galderma is indistinguishable, Plaintiffs distort the prior art beyond

recognition, arguing that “there was no prior art teaching that any dose of 4-AP – any single dose

or any range of doses – was safe and effective to improve walking or increase walking speed in

MS patients.” (Pls.’ Br. at 54 (emphasis in original).) Based on this mischaracterization of the

prior art, they conclude: “The Acorda inventors were not seeking to improve upon what was


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already a known process, and their invention was not the mere optimization of a known dose

range.” (Id.) These positions are not credible and contrary to the trial evidence.

       First, as Plaintiffs conceded during closing argument, the Elan patent “does subsume” the

claimed methods of treating walking in MS patients in the Acorda patents. (Tr. (Becker Closing)

794:4-795:12.) While they frantically attempt to draw a distinction between what the patent covers

in terms of its “scope” and what it “teaches” a skilled artisan (see id.; Pls.’ Br. at 56-59), that is

not relevant to the Galderma inquiry. There can be no question that the Acorda patents simply

narrow the scope of the Elan patent, which preceded by the Acorda patents by almost a decade.

       Second, Plaintiffs concede that Schwid, which used an Elan formulation (“fampridine, EL-

970”), practiced the Elan patent, and discussed clinical testing with a stable “17.5 mg bid” dose of

“4AP SR.” (JTX-104; D.I. 262 at ¶ 132.) Schwid found, for “timed gait,” a statistically significant

“improvement on 4-AP as compared to placebo on nine of ten subjects (p=0.02).” (Pls.’ Br. at 60-

61.) However, Plaintiffs attempt again to twist the problem at hand by focusing on whether 4-AP

could be used to treat any symptom of MS. Based on this erroneous analysis, and contrary to the

trial record, they argue that a POSA would have not have given Schwid’s conclusions weight,

because Schwid also showed “six failed measures.” (Id. at 61.) But the record clearly establishes

that Schwid reviewed various measures—including EDSS, which previously failed—to find the

most appropriate measure that would be sensitive enough to determine “symptomatic therapies for

MS.” (JTX-104 at AMPDEL0166742.) And Schwid found that appropriate measure, i.e., “timed

gait.” (Id.) That 4-AP did not meet other measures, such as EDSS, is neither relevant nor

probative. There is no dispute about what Schwid actually taught: that “[t]imed gait” “improved”

with a stable dose of “4AP SR 17.5 mg bid.” (JTX-104; Tr. (Peroutka) 91:17-92:12.).




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       Similarly, Plaintiffs do not dispute that Solari reports that Schwid showed statistically

significant improvement in “ambulation” with 4-AP. (Pls.’ Br. at 61.) Plaintiffs appear to be

arguing, however, that Solari’s conclusions are not relevant, because, among other things, it was

an overview article on both AP (mono-aminopyridine) and DAP (di-aminopyridine). (Pls.’ Br. at

61-62.) But Plaintiffs are supporting precisely Defendants’ broader point about Solari. Solari, in

fact, is not particularly relevant to the issue of obviousness, because it reports on neither original

research nor analysis under the appropriate obviousness standard—and, also, does not address the

Goodman references at all. (Tr. (Peroutka) at 696:21-697:9.) If Solari has any relevance at all, it

supports, not detracts from, the obviousness of the Acorda patents because it further points a POSA

to using 4-AP to improve walking (ambulation). (PTX-416; (Tr. (Peroutka) at 699:25-700:19.)

       Third, with respect to the Goodman references, they expressly taught that 10-20 mg 4-AP

BID had a “[s]afety profile consistent with previous experience” and “statistically significant

improvement from baseline compared to placebo in functional measures of mobility (timed 25

walking speed; p=0.04)[.]” (Tr. (Goodman) 477:4-12; Tr. (Cohen) 307:14-17; JTX-061.) As Dr.

Goodman reported to his peers, one of Acorda’s objectives in the MS-F201 study was to “[o]btain

evidence of efficacy and dose response,” and he found such “[e]vidence of dose-response in 20-

40 mg/day range.” (JTX-080A.)

       Once again, Plaintiffs urge the Court to misread the prior art by characterizing the MS-

F201 study reported in the Goodman references as a “failure” for which a POSA “would have

given little weight.”    (Pls.’ Br. at 28, 65.)     This position conflicts with Dr. Goodman’s

contemporaneous disclosures to the public at the time and, thus, is not credible. The Goodman

references showed not only improvement “at the lowest dose that they use, 20 milligrams, that is

10 milligrams twice a day,” but also that “all the other doses were in the same basic range.” (Tr.




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(Peroutka) at 694:1-9.) Therefore, combined with safety data, the Goodman references directly

point a POSA to a narrow range, 10 mg to 20 mg twice a day, that was the most appropriate dose.

       Fourth, Plaintiffs have conceded that Hayes III disclosed the precise pharmacokinetic

values claimed in the Acorda patents:

               [P]laintiffs do not dispute that the Hayes references disclose that the
               Elan sustained release formulation used in the spinal cord injury
               studies reported in those references when dosed at 10 mg BID
               yielded pharmacokinetic values that fall within the scope of the
               Acorda Patent claims (or that Ampyra would do so) ….

(Pls.’ Br. at 71.) Nor do Plaintiffs dispute that the values from Hayes in spinal cord injury patients

would be the same in MS patients. (See id.)

       In sum, the Acorda patents merely took the prior art—which taught that a stable dose of

17.5 mg sustained-release 4-AP, taken BID, improved walking speed in MS patients (Schwid) and

a dose range of 10-20 mg BID was safe and had a dose response (Goodman references)—and

isolated a particular dose (10 mg BID) from this preferred and narrow dosage range. As cases like

Galderma and Tyco make clear, such dose optimization is presumed obvious as a matter of law.

       B.      At A Minimum, The Prior Art Rendered The Claimed Invention Obvious To
               Try.

       As set forth in Defendants’ opening brief, the trial evidence showed that the asserted claims

of the Acorda patents are, at a minimum, “obvious to try” under KSR. (Defs.’ Op. Br. at 44-49.)

Plaintiffs respond that KSR cannot be applied here because “the relevant art is littered with a history

of inconsistent clinical trial results.” (Pls.’ Br. at 73, citing Sanofi v. Glenmark Pharm., Inc., USA,

No. CV 14-264-RGA, 2016 WL 4569680, at *22 (D. Del. Aug. 31, 2016).) But once again,

Plaintiffs have mischaracterized the prior art.




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               1.      The Prior Art Encouraged Further Testing Of 10 mg 4-AP Sustained
                       Release, Twice Daily, to Improve Walking in MS Patients.

        Defendants established in their opening brief that Plaintiffs’ own witnesses agreed that the

clinical study results reported in the Goodman References would have motivated a POSA to

conduct further testing within the 10-20 mg range, which obviously includes the claimed 10 mg

dose. (Defs.’ Op. Br. at 45-46.) In response, Plaintiffs argue that when Drs. Cohen and Goodman

conceded motivation to conduct further testing, they were referring only to their own motivations

influenced by full knowledge of the MS-F201 study results and not just those reported in the prior

art references. (Pls.’ Br. at 73-76.) Plaintiffs have pointed to nothing in the public disclosure of

the MS-F201 testing that was materially different from the internal reports to support this

argument. And, Dr. Goodman conceded that he did not omit important context when he presented

and published on that study in 2002-2003. (Tr. (Goodman) 525:17-20.)

        Indeed, Dr. Goodman acknowledged that the claimed invention of the Acorda patents was

obvious to try when asked in his deposition about the motivation of “a person of ordinary skill in

the art”:

               Q: And so would a person of ordinary skill in the art in December
                  2003 be motivated based on the 201 study [reported in the
                  Goodman References] to design a study along the lines of what
                  became the 202 study [testing 10 mg BID for 12 weeks]?

               A: Well, I mean, the historical truth is that we did, so yes.

(Tr. (Goodman) 559:20-25) (emphasis added). Notably, Dr. Goodman was not asked about his

own personal motivations in designing the Acorda studies. Instead, he was asked—as Plaintiffs’

primary expert offering opinions on the validity of the Acorda patents—whether “a person of




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ordinary skill in the art” would be motivated to design the study that ultimately supported the

Acorda patents.4 And he said yes—at least at his deposition.

       In their post-trial brief, Plaintiffs make the incredulous assertion that Dr. Goodman’s

concession is irrelevant, because this “was his testimony at the deposition[.]” (See Pls.’ Br. at 75.)

To be sure, Dr. Goodman changed his answer from a “yes” to a “no” at trial after defense counsel

made it clear that this was a critical concession, and the Court should absolutely consider such

impeachment when assessing the credibility of Dr. Goodman, who Defendants showed was a

biased witness. (D.I. 262 at ¶ 64; Tr. (Goodman) at 535:23-537:24.) More importantly, however,

Plaintiffs ignore the Federal Rules of Evidence, which make it clear that Dr. Goodman’s deposition

testimony is part of the trial record. See Fed. R. Evid. 801(d)(1) (prior inconsistent statements

under oath are “not hearsay”). Dr. Goodman got it right the first time. When he told his peers and

the public at large that he found “[e]vidence of dose-response in 20-40 mg/day range,” he was

motivating those skilled in the art to conduct further testing, with a reasonable expectation of

success, within that range. (JTX-080A.) Plaintiffs’ arguments to the contrary are not credible.

       In short, there can be no serious dispute that doses within the 10-20 mg BID range represent

”a finite number of identified, predictable solutions” to an obvious question: what specific, stable

dose of sustained-release 4-AP should a skilled artisan use to improve walking speed in MS

patients? KSR, 550 U.S. at 421. All doses within that discrete range, including the 10 mg dose,

were at least obvious to try.


4
  Plaintiffs argue that defendants “ignore the results” of this next study. (Pls.’ Br. at 76.) Of
course, and it is right to do so. Such data would not be relevant to an obviousness analysis because
it was not publicly available at the relevant time. 35 U.S.C. § 103, Pub. L. No. 98-622 (1984)
(amended 1995); see also Sanofi-Synthelabo v. Apotex Inc., 492 F. Supp. 2d 353, 394-95 (S.D.N.Y.
2007) (“Sanofi’s internal, non-public test data . . . was not material” because “those results were
non-public and not part of the prior art”), aff’d, 550 F.3d 1075 (Fed. Cir. 2008); Tr. (Becker
Closing) 785:12-21.



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               2.      The Claim Limitations Requiring a Stable Dose for More Than Two
                       Weeks Cannot Support the Asserted Claims.

       Plaintiffs cannot credibly contend that they are entitled to patent protection for discovering

that 4-AP could be used to improve walking in MS patients when taken in a stable dose for at least

two weeks. After all, “the general goal of drug development” is “to provide a stable dosing

regimen.” (Tr. (Peroutka) 99:9-11.) Dr. Goodman conceded as much. (Tr. (Goodman) 553:1-

20.)

       Plaintiffs nonetheless try to make hay out of the fact that Schwid tested a stable dose for

only one week, and the Goodman references discussed testing that did not involve a stable dose

regimen. But combinations of the prior art with a POSA’s knowledge certainly do disclose each

of these claim elements. (Defs.’ Op. Br. at 36.) “The combination of familiar elements according

to known methods is likely to be obvious when it does no more than yield predictable results.”

KSR, 550 U.S. 398, 416 (2007). Again, stable dosing is the end goal of drug development, which

begins with dose-ranging studies for a finite duration. (Tr. (Peroutka) at 99:5-11; Tr. (Goodman)

553:1-20.) A POSA can make reasonable inferences from these studies and would have had a

reasonable expectation of success in treating patients suffering from MS—a chronic disease with

no cure—with a stable dosing regimen of 4-AP that lasted longer than the specifically studied

period of one week, e.g., for more than two weeks. (Defs.’ Op. Br. at 47-48.) To the extent

Plaintiffs are trying to argue that the prior art taught that MS patients would have to titrate doses

of 4-AP for the rest of their lives, and not settle on a stable dosing regimen, or that patients would

take a stable dose for just one week, such positions would be absurd.

       Plaintiffs further overstate a POSA’s understanding of the “high risk of seizure in MS

patients” in an unavailing attempt to establish a lack of expectation in achieving a safe, long-term

administration. (Pls.’ Br. at 79.) As Dr. Goodman reported in the Goodman References, his testing



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found a “[s]afety profile consistent with previous experience,” and there were “increased AEs

[adverse events] at doses above 50 mg/day.” (JTX-080; JTX-080A (emphasis added).) Indeed,

there was a wealth of prior art and experience to give comfort to a POSA that dosing within the

10-20 mg range (BID)—particularly the low end of that range—was safe and effective, with

seizure risk. (DDX 2-71; JTX-001; JTX-043; JTX-061; JTX-062; JTX-080; JTX-104; JTX-112;

JTX-113.)

               3.      The Claimed Pharmacokinetic Values Cannot Support the Asserted
                       Claims.

       Plaintiffs concede that the listed inventors performed no formulation work and, instead,

used a sustained release formulation created by Elan to reach the claimed methods. They further

concede that Hayes I and Hayes III disclose pharmacokinetic data for a 4-AP SR formulation.

(Pls.’ Br. at 82-83.) Plaintiffs nonetheless argue that they are entitled to patent protection based

solely on the pharmacokinetic limitations. This argument has no merits.

       There is no dispute that the pharmacokinetic parameters disclosed in the Acorda patents

are taken directly from the Hayes prior art references. (DDX 8-23; JTX-069; JTX-002.) Indeed,

Plaintiffs ignore their concession at closing argument that “[i]t was known in the art that a sustained

release formulation of 10 [milligrams] BID could achieve [the claimed] PK.” (Tr. (Becker

Closing) 793:23-794:3.) Dr. Kibbe confirmed as much.5

       In short, the listed inventors did not invent or otherwise discover any of the

pharmacokinetic profiles claimed in the patent. To grant them patent protection based on the work

of others reported in the prior art would turn the patent laws on their head.


5
  Plaintiffs argue that Dr. Kibbe limited his testimony on this issue to what was disclosed in Hayes
I and III. (Pls.’ Br. at 84.) Not so. Dr. Kibbe confirmed at trial—without referencing Hayes in
his answer—that “[t]he claimed PK parameters resulting from the administration of 10 milligrams
[] BID of 4-AP were known in the art and were the natural result of the administration of the 10
milligrams sustained release product.” (Tr. (Kibbe) at 226:10-13.)


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       C.      A POSA Would Have Had a Reasonable Expectation of Success in Using SR
               4-AP to Improve Walking or Increase Walking Speed.

       Plaintiffs argue that a POSA in 2004 would not have had a reasonable expectation that

sustained release 4-AP could be used successfully at any dose—much less in accordance with the

specific dosing regimen of the Acorda patent claims—to improve walking or increase walking

speed in MS patients. (Pls.’ Br. at 31.) However, Defendants have discussed at length in this brief

and in their opening post-trial brief why the prior art provides more than a reasonable expectation

of success and address below Plaintiffs’ remaining arguments, to the extent not covered elsewhere.

               1.     Plaintiffs Overstate The Complexity and Variability Of MS
                      Treatments.

       Plaintiffs argue that “the broad range of symptoms caused by MS” complicates selection

of the clinical endpoints to be used in MS. (Pls.’ Br. at 33.) But a chronological review of the

prior art timeline shows a consistent march by those skilled in the art towards using 4-AP to

improve walking in MS patients: Stefoski I (1987) showed that 4-AP improved non-motor

symptoms (JTX-112); Davis (1990) showed that 4-AP improved motor function (power,

coordination, gait) (JTX-043); Stefoski II (1991) showed that 4-AP improves motor functions over

several days (JTX-113); Polman I (1994) showed that 4-AP improves ambulation long-term (JTX-

095); Bever III (1994) showed that 4-AP improves lower extremity strength (JTX-028); Schwid

(1997) showed that 17.5 mg BID sustained release 4-AP improves walking; and the Goodman

References (2002-03) showed that 10-20 mg BID sustained release 4-AP increases walking speed

(JTX-104, JTX-062, JTX-080).

       Plaintiffs diminish the scope of this prior art by arguing that the prior art studies are merely

“hypothesis generating,” and thus insufficient for a POSA to form a reasonable expectation of

success. (Pls.’ Br. at 38, citing Forest Labs. Holding Ltd. v. Mylan Inc., No. CV 13-1602-SLR,

2016 WL 3677148, at *24 (D. Del. July 11, 2016).) But Forest Labs. does not support their


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position. There, the court held that a POSA would not be motivated to combine the closest prior

art with a small, open-label, non-placebo controlled trial using a different drug that, although in

the same class, had the “opposite pharmacology.” 2016 WL 3677148 at *22-24. As a result, the

court found this single study would have been interpreted with care by a POSA in light of the

different drug, small size of the study, patients with varying prior histories, and the risk of

bias. Id. These concerns are not applicable here, where a series of clinical trials concerning 4-

AP by multiple investigators showed consistently promising results and actual, non-placebo

induced, beneficial effects.

       Plaintiffs further offer only attorney argument that, “[g]iven the nature of the disease, a

POSA would not have an expectation of success in using 4-AP to treat any symptom of MS”—

despite the favorable results and observed benefits from Stefoski, Davis, Schwid, and the

Goodman References—without a “randomized, placebo-controlled clinical study properly

designed to assess efficacy.” (Pls.’ Br. at 38.) This standard, which is akin to the standard for

FDA approval, is not the legal standard, which requires just a reasonable expectation of success.

Hoffmann-LaRoche, Inc. v. Apotex, Inc., 748 F.3d 1326, 1331 (Fed. Cir. 2014) (“Conclusive proof

of efficacy is not necessary to show obviousness. All that is required is a reasonable expectation

of success.”); Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1364 (Fed. Cir. 2007) (holding that “the

expectation of success need only be reasonable, not absolute”); In re Merck & Co., 800 F.2d 1091,

1097 (Fed. Cir. 1986) (“Obviousness does not require absolute predictability.”).

       As the Supreme Court explained, it is error to assume “that a person of ordinary skill

attempting to solve a problem will be led only to those elements of prior art designed to solve the

same problem.” KSR, 550 U.S. at 420. This is because “[c]ommon sense teaches . . . that familiar

items may have obvious uses beyond their primary purposes, and in many cases a person of




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ordinary skill will be able to fit the teachings of multiple patents together like pieces of a

puzzle.” Id. That is, a “person of ordinary skill is also a person of ordinary creativity, not an

automaton.” Id. The Acorda patents are obvious under this standard.

               2.      Plaintiffs Overstate The Risk Of Seizures.

       Plaintiffs’ argument that the risk of seizures using 4-AP “weighed heavily against any

reasonable expectation that a safe and efficacious dose could be found” overstates a POSA’s

understanding of the risk of seizures with 4-AP. (Pls.’ Br. at 39.) Defendants addressed this issue

in their opening post-trial brief. (Defs.’ Op. Br. at 22.)

       Plaintiffs continue their mischaracterization of the prior art to argue that “[v]irtually every

reference” “taught” upward titration as a means of addressing 4-AP’s narrow therapeutic index.

(Pls.’ Br. at 40-42.) By Plaintiffs’ own admission, the prior art studies, such as the one reported

in the Goodman references, were dose ranging or dose finding studies designed to “look primarily

at a range of doses and safety and tolerability and pharmaceokinetics at those doses.” (Tr. (Cohen)

at 287:13-21.) The goal of almost all dose ranging studies is to find the most efficacious dose

without adverse events.      But once an efficacious dose is found, the general goal of drug

development is to provide a stable dosing regimen. (Tr. (Peroutka) at 99:5-11.)

       Contrary to Plaintiffs’ contentions, the prior art did not suggest testing higher doses of 4-

AP. (Pls.’ Br. at 42-44.) Plaintiffs cannot, on the one hand, warn of the ever-present dangers of

seizure risks (at high doses), while also advocating the prior art suggests “as high a dose as

possible”—even with the disclaimer “short of precipitating adverse effects”—on the other. Rather,

a POSA would know, based on the prior art, that very serious adverse events may occur the higher

the dosage strength of 4-AP, and thus attempt to find the lowest effective dose. (Tr. (Peroutka)

104:7-16.)




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               3.      Plaintiffs Overstate The Relevance Of The “Failed” Elan Study.

       The evidence shows why the unpublished 1994 Elan study referenced in a single paragraph

in Schwid was not a “failed” study, as Plaintiffs repeatedly claimed throughout trial. (Defs.’ Op.

Br. at 55-57.) Plaintiffs ignore this evidence and, instead, continue to argue that this purported

“failed” study somehow would have convinced a POSA to take the test results reported by Dr.

Goodman in 2002 and 2003 and completely discard them. Once again, Plaintiffs’ arguments are

meritless.

       To credit Dr. Goodman’s testimony, the Court would have to find that a POSA would

discount all of the peer-reviewed prior art publications of clinical studies concerning 4-AP and

rely, instead, on a passing reference to a 1994 Elan study as informing whether the drug could be

reasonably expected to improve walking in MS patients. Despite Plaintiffs’ hyperbolic argument

that this purported “failed” study cast “huge shadow on this whole field” (Pls.’ Br. at 46), the 1994

Elan research simply moved the ball forward on the use of sustained release 4-AP formulation

with MS patients.

       As explained in detail in the 1997 Schwid reference dated seven years before the 2004

priority date, Dr. Goodman himself reported the realization from the Elan research that “EDSS . . .

may have been an inadequate outcome variable” for this alleged failed trial. (JTX-104 at

AMPDEL0166739; D.I. 263 ¶ 131.) For this precise reason, Dr. Goodman and others “planned

the present pilot study [reported in Schwid]”—namely, “to assess the effect of 4AP SR on more

sensitive, quantitative measures of function in MS. (Id.; Tr. (Goodman) 542:19-543:1; Tr.

(Peroutka) 703:15-704:18.) As Dr. Goodman conceded, since the Schwid study reported in 1997,

no other published study used EDSS as the sole outcome variable in testing 4-AP. (Tr. (Goodman)

546:1-4.) In this sense, as Dr. Peroutka explained, the 1994 Elan study was not a failed study.




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Instead, it informed investigators how to develop future, successful studies. (Tr. (Peroutka)

702:22-703:14.)

               4.      Plaintiffs Overstate The Relevance Of The Solari Review, Which
                       Supports Defendants’ Obviousness Defense.

        Plaintiffs argue that a POSA would assess the prior art and come to the same conclusions

for the purposes of an obviousness analysis as Solari did with respect to her review article assessing

the efficacy of 4-AP and DAP. (Pls.’ Br. at 47-50.) But Plaintiffs’ reliance on Solari is misplaced

for the reasons previously discussed, as well as for the following reasons.

        First, Dr. Goodman describes Cochrane Reviews as “rigorously done evidence-based

systematic review[s]” that exclude anything but randomized, controlled clinical trials. (Pls.’ Br.

at 48; PTX-416.) Plaintiffs cite no authority for the proposition that a POSA undertaking an

obviousness analysis would only consider randomized, controlled clinical trials. Indeed, Plaintiffs

have conceded that an FDA-approval standard does not apply to an obviousness analysis. (Pls.’

Br. at 38.)

        Second, Solari’s conclusions are made without the benefit of the teachings of important

prior art, such as the Goodman and Hayes references. (PTX-416.) Plaintiffs do not dispute that a

POSA would have had access to these references as well as those discussed in Solari.

        Third, Plaintiffs repeatedly refer to Solari’s “overall conclusion” about whether the then-

current research on 4-AP and DAP (a compound not at issue here), viewed collectively, allow an

unbiased statement about safety or efficacy of aminopyridines for treating all of the MS symptoms

considered, which include motor function, eye movements, EDSS, visual function, cognitive

function, and fatigue—none of which are at issue here. (PTX-416.) However, this is not the

relevant analysis. Indeed, a fair reading of Solari would focus a POSA not on fatigue, cognition,




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or visual effects of the drug, but “on the two [aspects] that were highly significant, that is

ambulation and motor strength.” (Tr. (Peroutka) 699:25-700:3.)

               5.      Plaintiffs Continue To Rely On Unpublished Data That Is Irrelevant
                       To Obviousness.

       As Plaintiffs’ themselves admit, information that is not “publicly available prior art” has

“no bearing” on issues of obviousness. (Pls.’ Br. at 17-18.) Yet, they continue to argue that

“unpublished data confirm the unpredictability in the art as of April 2004.” (Pls.’ Br. at 50-

51.) Acorda’s unpublished data on failed measures that were not published at the time is irrelevant,

because obviousness turns on the knowledge of a hypothetical person of ordinary skill in the art in

2004. 35 U.S.C. § 103, Pub. L. No. 98-622 (1984) (amended 1995); see also Sanofi-Synthelabo,

492 F. Supp. 2d at 394-95 (“Sanofi’s internal, non-public test data . . . was not material” because

“those results were non-public and not part of the prior art”).

       D.      Secondary Considerations Cannot Overcome The Strong Showings Of
               Obviousness.

       As discussed, “objective evidence of nonobviousness simply cannot overcome . . . a strong

prima facie case of obviousness.” Agrizap, Inc. v. Woodstream Corp., 520 F.3d 1337, 1344 (Fed.

Cir. 2008). Plaintiffs do not dispute this legal proposition. They nonetheless attempt to raise a

host of “secondary considerations” of nonobviousness. All of these attempts fail on both legal and

factual grounds.

               1.      Plaintiffs Presented No Credible Evidence of Commercial Success.

                       a.      The Elan “Blocking Patent” Renders Any Evidence Of
                               Commercial Success Legally Irrelevant, At Least For The
                               Acorda Patents.

       Plaintiffs cannot dispute that the relevance of commercial success to the obviousness

inquiry for the Acorda patents is limited, because the Elan patent has served since April 1998 (and

continues to serve) as a blocking patent limiting the economic incentives for others to develop a


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product like Ampyra at the relevant time—i.e., in 2004. (Defs.’ Op. Br. at 61-62.) See, e.g.,

Warner Chilcott Co, LLC. v. Teva Pharm. USA, Inc., 37 F. Supp. 3d 731, 739 (D. Del. 2014), aff’d,

594 F. App’x 630 (Fed. Cir. 2014).

       Plaintiffs can only half-heartedly argue that the Elan patent “had no impact on the

development of 4-AP before the ’938 patent issued in July 1996 and was never an impediment to

the development of an immediate release 4-AP product.” (Pls.’ Br. at 89 (emphasis added).) But

this is beside the point, because the Acorda patents do not claim immediate release formulations—

which, as discussed, would have had limited clinical utility given the short half-life for 4-AP. The

fact remains undisputed that the Elan patent barred skilled artisans from July 1996 through the

2004 priority date for the Acorda patents from using a sustained release 4-AP product to treat MS.

Thus, the existence of this blocking patent—not some purported invention—explains why skilled

artisans did not practice the claimed invention before that priority date.

       Plaintiffs’ expert, Dr. Bell, offered no response. And Plaintiffs presented no evidence that

Elan attempted to license its patent to anyone else besides Acorda, which received an exclusive

license. (Tr. (McDuff) at 651:18-21.) Nor did Plaintiffs present evidence that Elan was even

willing to enter into such a license. (Id. at 651:10-17; see also 651:22-25.) Because there can be

no doubt that “market entry from others was precluded, the inference of non-obviousness of [the

Acorda patents], from evidence of commercial success, is weak.” Merck & Co., Inc. v. Teva

Pharm. USA, Inc., 395 F.3d 1364, 1376-77 (Fed. Cir. 2005).

                       b.      Plaintiffs Failed To Produce Credible Evidence That Ampyra’s
                               Sales Establish A “Commercial Success” Relevant To
                               Obviousness.

       Even putting aside the legal deficiencies in Plaintiffs’ commercial success theory,

Defendants established by clear and convincing evidence that Ampyra’s sales and profits do not

create an inference that economic incentives in 2004 would have brought the claimed invention to


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market sooner. (Defs.’ Op. Br. at 62.) In response, Plaintiffs tout the gross and net sales numbers

for Ampyra as dispositive for a finding of commercial success, relieving them of any further

analysis of market share, market opportunity, profitability, or the totality of the rest of the evidence

relevant to commercial success. (Pls.’ Br. at 86.) But contrary to Plaintiffs’ suggestion, none of

their cited cases hold that nonobviousness of a patent-in-suit is supported by commercial success

proven by sales alone. Tec Air, Inc. v. Denso Mfg. Michigan, 192 F.3d 1353, 1361 (Fed. Cir.

1999); M/A COM Tech Solutions Holding, Inc. v. Laird Tech, Inc., No. CV 14-181-LPS, 2014 WL

2727198, at *4 (D. Del. June 13, 2014) (Stark, C.J.); UCB, Inc. v. Accord Healthcare, Inc., No.

CV 13-1206-LPS, 2016 WL 4376346, at *29 (D. Del. Aug. 15, 2016) (Stark, C.J.). For example,

this Court’s commercial success finding in UCB was based not just on sales, but also a contextual

analysis of Vimpat’s position compared to other drugs in its class—including stiff generic

competition. Id. 2016 WL 4376346, at *39-40.

       Rather than assess the totality of the evidence, Plaintiffs’ expert Dr. Bell hardly looked past

Ampyra’s sales before rendering his opinions. Plaintiffs point out that he also relied on the fact

Acorda’s marketing expenditures for Ampyra have decreased while its revenue has increased, and

that unit sales of Ampyra increased even as its price increased. (Pls.’ Br. at 86-87.) But those

patterns are “typical” in the pharmaceutical industry after a drug’s launch, and do not provide

persuasive evidence of commercial success. (Tr. (McDuff) 647:9-19.) Plaintiffs do not dispute

that Dr. Bell failed to compare the sales, price, or market share of Ampyra to any other drug; the

commercial opportunity presented at the time of the invention; and, most importantly, the

economic profitability of the product over its lifecycle. (Tr. (Bell) 601:24-602:18, 606:25-607:17,

611:8-612:20.)




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       By contrast, Dr. McDuff’s analysis accounted for each of those factors in evaluating

Ampyra’s commercial success. While Acorda originally sought to have Ampyra approved for a

broader indication, including for treatment of spinal cord injuries and MS (generally), the company

failed to obtain such FDA approval, resulting in a significantly diminished market opportunity.

(Id. at 630:20-25.) Even within the MS patient population, only 25 to 30 percent of the patients

are eligible for Ampyra. (Id.; see also JTX-76; DTX-419; DTX-57.)

       Put simply, the actual market opportunity from Ampyra never lived up to its original

expectations. And the sales and profits of Ampyra reflect this. As explained in Defendants’

opening brief, such sales and profits are not large enough to have made the market interested in

the product back in 2004 when considering commercialization costs. (See Defs.’ Op. Br. at 62-

63.)

       Plaintiffs attempt to undermine Dr. McDuff’s calculations of economic profitability by

arguing that his estimate of commercialization costs should not include the risk of failure. (Pls.’

Br. at 88.) But this is undisputedly one cost that pharmaceutical companies consider when

assessing whether to pursue a commercial product. (JTX-144; JTX-088 at AMP-DEF-0009816;

JTX-064 at AMP-DEF-0009740; Tr. (McDuff) at 666:24-667:7.)                That is because, for a

pharmaceutical product to present a worthwhile marketplace opportunity, its sales must not merely

break even with its out-of-pocket costs. Rather, a product providing sufficient economic incentives

for development will make up for the inevitable failures of other drugs in development. (Tr.

(McDuff) 668:22-669:5.) Here, the parties agree that, when performing a commercial success

analysis, the goal is to assess whether there were economic incentives to develop a product back

at the time of the alleged invention. (Tr. (Bell) 599:2-6; (McDuff) at 672:11-14.) Accordingly,




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all of the typical pharmaceutical industry commercialization costs must be taken into account. (Tr.

(McDuff) 630:3-10.)

       Plaintiffs also argue that Dr. McDuff has no authority for calculating commercialization

costs in the same way the pharmaceutical industry does. (Pls.’ Br. at 88.) But Plaintiffs ignore

that Dr. McDuff’s opinions were found persuasive in Merck Sharp & Dohme B.V. v. Warner

Chilcott Co., LLC, in which Judge Sleet agreed that the patentee failed to rebut a prima facie case

of obviousness. No. CV 13-2088-GMS, 2016 WL 4497054, at *13 (D. Del. Aug. 26, 2016) (Tr.

at 657:23-658:6.) Indeed, the Court found that despite $4.1 billion in global sales, evidence of

NuvaRing’s commercial success was modest because, among other reasons, “Dr. Rainey

[Plaintiffs’ expert] did not consider the cost of research and development or the cost of marketing

in determining the profitability of NuvaRing.” 2016 WL 4497054, at *13. Thus, while Plaintiffs

criticize Dr. McDuff, it is actually Plaintiffs who can cite no authority supporting the

methodology—or lack thereof—for Dr. Bell’s assessment of commercial success, which results in

an ipse dixit opinion based on sales figures with no comparison to the costs it took to reap them or

to market competitors.6

                       c.     Plaintiffs Failed To Produce Credible Evidence Of A Nexus To
                              The Patents-In-Suit.

       Plaintiffs summarily argue that Ampyra sales and profits have a nexus to the Elan and

Acorda patents because Ampyra is an embodiment of their asserted claims. (Pls.’ Br. at 87.) But


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  Plaintiffs also complain that Dr. McDuff inappropriately included the full cost of preclinical
research and development for Ampyra, even though 4-AP was known before the inventions
claimed in the patents-in-suit. (Pls.’ Br. at 89.) But Dr. Bell did not calculate, and Plaintiffs do
not suggest, what the appropriate amount of preclinical costs for Ampyra should be—even though
Plaintiffs carry the burden of production. (Tr. (Bell) 607:13-17.) And even if Dr. McDuff reduced
the preclinical costs borne by Acorda in development Ampyra by half, it still would not change
his ultimate conclusion regarding Ampyra’s economic profitability. (Tr. (McDuff) 645:22-
646:20.) Nor would including Ampyra sales outside of the U.S. make any material difference to
the overall profitability analysis. (Id. at 646:21-647:8.)


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the fact a commercial drug product is covered by a patent does not necessarily mean that sales are

driven by the patented features. See Apple Inc. v. Samsung Elecs. Co., No. 2015-1171, 2016 WL

5864573, at *26, *29 (Fed. Cir. Oct. 7, 2016) (“Apple’s evidence of commercial success [of its

patented product] does not establish a nexus with the patented feature” because the “evidence does

not speak to whether a consumer would be more or less likely to buy a device with the specific

combination of features recited in” the patent claim). Here, Dr. Bell offered no rebuttal to Dr.

McDuff’s opinions by assessing whether the patented features are driving Ampyra’s sales.

Although Plaintiffs carry the burden of production, Dr. Bell performed no analysis of the relative

contribution of the Elan patent to Ampyra’s sales (Tr. (Bell) 613:15-18); the relative contribution

of the Acorda patents to Ampyra’s sales (id. at 613:19-22); or the relative contribution of the 4-

AP compound (an unpatented feature) to Ampyra’s sales (id. at 614:10-24). Nor did Plaintiffs

offer testimony disputing that a 15 mg or a 20 mg 4-AP sustained release product would be just as

clinically effective as a 10 mg product, and sales essentially would be unchanged. (Tr. (McDuff)

653:19-25; Tr. (Peroutka) 707:9-20.) Thus, Plaintiffs have failed to meet their burden of producing

evidence of a nexus between sales of Ampyra and the Elan patent, or between sales of Ampyra

and the Acorda patents. See, e.g., Galderma, 737 F.3d at 738 (“the burden of production falls upon

the patentee to come forward with evidence” of secondary considerations of nonobviousness).

               2.     Plaintiffs Presented No Credible Evidence That Ampyra Satisfied A
                      Long-Felt But Unmet Need.

       Plaintiffs assume that Ampyra satisfies a long-felt but unmet need simply because it is

indicated to treat a symptom that is “one of the most prevalent and most devastating symptoms

experienced by MS patients.” (Pls.’ Br. at 90.) But while there may be a long-felt but unmet need

to address symptoms caused by MS, Ampyra indisputably does not satisfy that need. Rather,

Ampyra addresses a single symptom in a subset of MS patients, and it does not work for all MS



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patients suffering from this symptom. And, even, then, Ampyra does not reverse the symptom to

normal. (Tr. (Peroutka) 701:4-25.)

       Plaintiffs argue that a “patented method of treatment need not solve the problem for all

people in order to show a long-felt need was met, so long as it proves effective at treating a segment

of the population who had previously gone without relief.” (Pls.’ Br. at 91, citing UCB, Inc. v.

Accord Healthcare, Inc., No. CV 13-1206-LPS, 2016 WL 4376346, at *29 (D. Del. Aug. 15,

2016).) However, the drug at issue in UCB was shown to effectively control seizures in a portion

of the population consisting of a “large number of patients” with epilepsy. 2016 WL 4376346, at

*6, 39. An equivalent situation is not presented here. For example, Dr. Goodman regularly treats

MS patients, but he testified he had never seen someone for whom he has prescribed 4-AP walk

entirely normally; and he only prescribed Ampyra to about 10 percent of his MS patients, including

only about 15-20 percent of his MS patients who suffer from walking difficulties. (Tr. (Goodman)

at 539:13-540:2.) Ampyra also does not stop or slow the progression of MS for any patients,

unlike other disease-modifying drugs approved by the FDA. (Tr. (Peroutka) 701:4-22.)

       Plaintiffs also argue that the FDA granted “priority review of Acorda’s NDA for Ampyra,

demonstrating that the FDA viewed the drug as a potentially important therapy for an important

condition.” (Pls.’ Br. at 90.) Again, the cases cited by Plaintiffs are distinguishable. In Cadence

Pharm., Inc. v. Exela Pharma Scis., the district court found long-felt unmet need existed in a

situation in which the FDA had granted priority review of Plaintiffs’ NDA application. No. CV

11-733-LPS, 2013 WL 11083853, at *29 (D. Del. Nov. 14, 2013), aff’d, 780 F.3d 1364 (Fed. Cir.

2015). But key to the court’s decision was the FDA’s public statements that it was “anxious” for

such an invention to be created and, later, that the product “fulfilled an unmet need….” Id. No

such FDA statements are found here. Further, the decision in Leo Pharm. Prods., Ltd. v. Rea




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simply states that “FDA approval can be relevant in evaluating the objective indicia of

nonobviousness.” 726 F.3d 1346, 1358 (Fed. Cir. 2013) (emphasis added). The decision does not

discuss the implications of priority review on the analysis of secondary considerations nor does it

say that FDA approval is always relevant. Id. In fact, the Court held that “FDA approval is not

determinative of nonobviousness.” Id.

       Plaintiffs further suggest that the long period of time between much of the prior art and

Acorda’s eventual success in bringing the product to market is evidence of the nonobviousness of

the Acorda patents. (Pls.’ Br. at 90-91.) As discussed in detail in Defendants’ opening post-trial

brief, the Elan patent served as a blocking patent from 1996 through the priority date for the Acorda

patents, legally stopping any POSA who wished to develop the claimed methods. (Defs.’ Op. Br.

at 59-60); see also Sanofi-Synthelabo v. Apotex Inc., 492 F. Supp. 2d 353, 392 (S.D.N.Y. 2007)

(because earlier patent precluded anyone else from bringing the compound to market throughout

the duration of that patent, “evidence relating to the failure of others [and] a long-felt but unsolved

need . . . is undermined by the fact that those phenomena—to the extent they exist in this case—

could have been derived from Sanofi’s ownership of the [earlier] patent as much as from the

nonobviousness of [the compound]”), aff’d Sanofi-Synthelabo v. Apotex Inc., 550 F.3d 1075 (Fed.

Cir. 2008).

               3.      Plaintiffs Presented No Credible Evidence Of Failure of Others.

       Plaintiffs offer two alleged failures to develop the claimed invention: the unpublished 1994

Elan study and an attempt by Sanofi-Aventis to develop a completely unrelated drug, nerispirdine,

as a therapy to improve walking in MS patients. (Pls.’ Br. at 92.) Neither of these facts addresses

the problem the Acorda patents purport to solve, i.e., an optimized dose for a prior art method.

And —and neither can be considered a failure of others to be used as a secondary consideration in

an obviousness analysis.


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       In support of their argument that the unpublished 1994 Elan study was a “failure,” Plaintiffs

offer nothing more than the self-serving testimony of Drs. Goodman and Cohen describing it as

such. (Pls.’ Br. at 92.) Again, as Dr. Peroutka explained, because the 1994 Elan study informed

investigators how to develop future, successful studies using other measurements, it is not a

“failed” study. (Pls.’ Br. at 57.) In fact, that is exactly what happened as reported in Schwid and

the Goodman references. (JTX-104; JTX-061; JTX-062; JTX-080A.)

       In support of their argument that Sanofi’s development of nerisperidine was a relevant

failure, Plaintiffs suggest that it does not matter that nerispirdine and 4-AP are completely different

chemical compounds, because the Federal Circuit has recognized failures of others to find a

solution to the problem without limiting the analysis to the specific chemical compound that is the

subject of the claims at issue. (Pls.’ Br. at 93 (citing Knoll Pharm. Co. v. Teva Pharms. USA, Inc.,

367 F.3d 1381, 1385 (Fed. Cir. 2004); Eli Lilly & Co. v. Sicor Pharm., Inc., 705 F. Supp. 2d 971,

1009 (S.D. Ind. 2010), aff’d, 424 F. App’x 892 (Fed. Cir. 2011).) That argument misconstrues the

holdings of the cited cases.

       In Knoll, the patent-in-suit was directed to methods and compositions for treating pain by

administering a combination of hydrocodone (an opioid) and ibuprofen (a nonsteroidal anti-

inflammatory drug), and the district court found that the prior art expressly taught one of ordinary

skill to combine an opioid with an NSAID. 367 F.3d at 1382-84. In light of that broad holding,

the Federal Circuit found that the district court erred in granting summary judgment for defendant

when plaintiff proffered evidence that others had failed to develop other opioid-NSAID

compositions. Id. at 1385.

       In Eli Lilly, the patents-in-suit covered a specific nucleoside analog compound and a

method of treating tumors with that compound. 705 F. Supp. 2d at 977-78. Because thousands of




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nucleoside analogs had been subjected to research and testing and only one had been approved by

the FDA for use against solid tumors, the Court found this track record of failure prior to the

plaintiff’s success with the claimed nucleoside analog as supporting a finding of nonobviousness.

Id. at 1009.

       Here, in contrast, the relationship between nerisperidine and the asserted claims of the

Acorda patents are far more tenuous than the above cases. The supposed failure of the former

sheds no light on the nonobviousness of the latter. First, the Acorda patents are not directed to a

chemical compound—they are directed to methods of treatment using an optimized dose for

sustained release 4-AP, which was already known to be effective in improving walking in MS

patients. Second, the Acorda patents claim a method of treatment using a sustained release

formation of the compound 4-AP, while Nerispirdine was an immediate release drug that did not

contain 4-AP. (Tr. (Peroutka) 705:3-20; Tr. (Lublin) 419:7-24; Tr. (Peroutka) 704:21-705:2.)

Third, the Acorda patents claim a specific 10 mg dose of the active drug, b.i.d. for at least two

weeks without titration, whereas Plaintiffs presented no evidence of a similar dosing strength or

regimen for nerisperidine. (Pls.’ Findings of Fact at ¶¶ 168-172; Pls.’ Br. at 92-93.) And fourth,

the Acorda patents claim certain resulting pharmacokinetic levels of the drug after dosing, whereas

no information regarding the pharmacokinetics of nerisperidine is provided. The only similarity

between the Acorda patent claims and nerisperidine are that both are directed to improve walking

in MS patients.

       Plaintiffs attempt to concoct a further tenuous similarity—that both compounds are

potassium channel blockers—but that is irrelevant.7 The Acorda patents are not directed towards



7
  It is also telling that Plaintiffs first define the alleged “invention of the Acorda patents [as] the
inventors’ identification, for the first time, of a low, stable dose of sustained release 4-AP that
could be safely and efficaciously used for a prolonged period to improve walking or increase


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potassium channel blockers and, as Dr. Peroutka explained without dispute, “the reality is the

potassium channels is not a single entity,” and “there is no such thing as a potassium channel,” but

rather “multiple different subtypes”—as many as more than 80. (Tr. (Peroutka) 705:3-20.)

Sanofi’s nerispirdine compound is simply too far removed from the asserted claims of the Acorda

patents to provide any persuasive or otherwise relevant evidence as to whether others tried but

failed to optimize a 4-AP dose for this purpose.

               4.      Plaintiffs Presented No Credible Evidence Of Surprising And
                       Unexpected Results.

       To support their arguments of surprising and unexpected results, Plaintiffs ignore the

contemporaneous statements of Dr. Goodman in the prior art in favor of his litigation-inspired

recollections. (Pls.’ Br. at 94 (“Dr. Goodman ‘actually didn’t believe the 10 milligrams would be

an effective dose.’”); id. at 95 (“Dr. Goodman also recalled ‘being very surprised’ that the

proportion of people who met the responder analysis criteria was equivalent in the 10 mg, 15 mg

and 20 mg dose groups.”).)8 Try as they might, yet again, Plaintiffs cannot rewrite prior art

(including art authored by Dr. Goodman) establishing it was neither surprising that the 10 mg BID

dose (1) was efficacious, or (2) was as effective as higher (i.e., 15 and 20 mg) doses. (D.I. 265 at

53.)




walking speed in MS patients.” (Id. at 54.) But when discussing failure of others, Plaintiffs alter
their definition of the invention to say that it was simply a solution for the problem of translating
“potassium channel-blocking activity into a therapy to improve walking.” (Id. at 93.)
8
  Plaintiffs also incorrectly argue that Defendants have the burden to prove that the results were
expected. (Pls.’ Br. at 94.) The Federal Circuit has unequivocally held that “where there is a range
disclosed in the prior art, and the claimed invention falls within that range, the burden of
production falls upon the patentee to come forward with evidence that (1) the prior art taught away
from the claimed invention; (2) there were new and unexpected results relative to the prior art; or
(3) there are other pertinent secondary considerations.” Galderma, 737 F.3d at 738 (emphasis
added).


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       Because the prior art does not support their arguments, Plaintiffs contend that the 10 mg

BID dose was unexpectedly effective in light of Acorda’s internal MS-F202 study report, which

they say originally failed to demonstrate efficacy at 10 mg BID, 15 mg BID, and 20 mg BID, but

showed an increase in walking speed after a “responder analysis.” (Pls.’ Br. at 94.) This does not

constitute relevant evidence of unexpected results for at least three reasons. First, the MS-F202

study was not available to a POSA before the 2004 priority date for the Acorda patents and,

therefore, sheds no light on what a POSA would have expected at that time. (Tr. (Goodman) at

556:25-557:2; Synthelabo v. Apotex Inc., 492 F. Supp. 2d 353, 394-95 (S.D.N.Y. 2007) (“Sanofi’s

internal, non-public test data . . . was not material” because “those results were non-public and not

part of the prior art”), aff’d, 550 F.3d 1075 (Fed. Cir. 2008)). Second, Plaintiffs admit they

expected to find statistically significant improvements in this study, but it purportedly “failed”

because they were measuring the wrong outcomes. (Tr. (Cohen) at 298:8-299:3; Tr. (Goodman)

at 515:8-25.) Thus, it was Acorda’s poor judgment that resulted in “unexpected results,” not the

allegedly novel features of the patent. Third, Dr. Cohen’s “responder analysis” does not create

unexpected results for the 10 mg BID dose, specifically.           The responder analysis created

statistically significant improvements for all of the tested dosage strengths. (Id.)

       Drs. Goodman and Cohen’s litigation-inspired testimony that they were surprised to see no

meaningful difference between doses of 10, 15, and 20 mg BID is once again contradicted by the

contemporaneous statements in the Goodman references. (Tr. (Cohen) 298:25-299:3; Tr.

(Goodman) 517:11-25.) Indeed, at trial, Dr. Goodman admitted that the dose response curve in

Goodman I did not detect any significant differences among doses within the range of 20-50

mg/day. (Tr. (Goodman) 533:1-4.) Dr. Goodman disclosed that a skilled artisan reading the




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Goodman references in 2004 could not expect any dose in the 20 to 50 mg per day range to be

more effective than any of the other doses in that same range. (Tr. (Goodman) 533:1-535:4.)

       Similarly, the fact that titration was unnecessary was also not unexpected. The Elan patent

taught back in 1996 that, in at least some embodiments, “the active agent is preferably administered

at a dose less than 15 mg/day until a tolerable state is reached.” (JTX-001 at 13:65-14:9.) The

dose can then be “increased by amounts of at least 5-15 mg/day until said therapeutic dose is

reached.” (Id.) This teaching would therefore include a dosing regimen in which a therapeutically

effective dose is administered at the outset, and thus no titration would be required. Indeed, this

is confirmed by Plaintiffs’ experts who testified that the Elan patent claims are not limited to a

dose titration regimen. (Tr. (Lublin) 415:16-416:10.)

       Even if Dr. Goodman’s and Dr. Cohen’s personal opinions and recollections 12 years after

the fact were credible—which they are not—their testimony of surprise constitutes only a change

in degree, not kind. “[W]here an unexpected increase in efficacy is measured by a small

percentage, as here, and the evidence indicates that skilled artisans were capable of adjusting the

percentage, the result constitutes a difference in degree, not kind.” Galderma, 737 F.3d at 739;

Iron Grip Barbell Co, Inc. v. USA Sports, Inc., 392 F.3d 1317, 1321 (Fed. Cir. 2004) (“[W]hen the

difference between the claimed invention and the prior art is the range or value of a particular

variable,” then a patent should not issue if “the difference in range or value is minor.”). In

Galderma, the Federal Circuit found no unexpected results when tripling the known tolerable dose

did not increase side effects as expected. Id. By contrast, the Allergan case to which Plaintiffs

cite found unexpected results when the prior art explicitly taught that 200 ppm BAK would either

have no impact on permeability or decrease it, but instead enhanced the permeability. 796 F.3d at

1306-07. The result was unexpected because it directly contradicted the teaching of the prior art,




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as opposed to the present case, where Plaintiffs literally followed the teachings of the prior art on

dosing to achieve results that were well within expectations.

                                          CONCLUSION

       For the reasons presented above and in their opening post-trial brief, Defendants

respectfully submit that the Court should enter judgment on their behalf declaring invalid as

obvious (or, alternatively, for violating 35 U.S.C. § 112) claims 3 and 8 of the ’938 patent; claims

1, 7, 38, and 39 of the ’826 patent; claims 3 and 5 of the ’685 patent; claims 1, 2, 5, 22, 32, 36, and

37 of the ’437 patent; and claims 36, 38, and 45 of the ’703 patent.




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       Dated: November 3, 2016

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